86 F.3d 1151
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert PAYNE, Petitioner-Appellant,v.Michael MOORE;  Attorney General of the State of SouthCarolina, Respondents-Appellees.
    No. 96-6018.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 16, 1996.Decided June 3, 1996.
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.   David C. Norton, District Judge, Robert S. Carr, Magistrate Judge.  (CA-94-3464-18AJ)
      D.S.C.
      DISMISSED.
      Robert Payne, Appellant Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      Before RUSSELL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.   Payne v. Moore, No. CA-94-3464-18AJ (D.S.C. Nov. 27, 1995).   We deny Appellant's motion for appointment of counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    